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UNZXTED STATES DISTRICT COURT SOUTHERN DISTRICT OF NEW YORK
Index No. 09 CIV 10155

 

SOFTWARE FREEDOM CONSERVANCY, INC., AND ERIK ANDERSEN
, Plaintiffts)
- against -

BEST BUY CO. INC., ET AL.
, Defendant(s)

 

State of California )
County of Sacramento )
AFFIDAVIT OF SERVICE

Jenice Rossner being duly sworn, deposes and says
that she is over the age of 18 years; is not a party to this action and resides
within the State of California. That on 01/06/2010 at 1:10 PM at:
CORPORATION SERVICE COMPANY
2730 GATEWAY OAKS DRIVE SUITE 100
SACRAMENTO CA 95833
Deponent served the:

SUMMONS IN A CIVIL ACTION AND COMPLAINT

INDIVIDUAL RULES AND PROCEDURES FOR JUDGE SHIRA A. SCHEINDLIN
PROCEDURES FOR ELECTRONIC CASE FILING

RULE 7.1 STATEMENT

on WESTERN DIGITAL TECHNOLOGIES, INC.

a domestic and/or foreign corporation

by delivering thereat true copies to Becky DeGeorge

personally, deponent knew said corporation so served to be the corporation,
described in same as said recipient and knew said individual to be the
Managing Agent and who stated that they were

authorized to accept service thereof.

Deponent describes the individual served as follows:
AGE: 48 HEIGHT: 5'7'' WEIGHT: 160 HAIR: BLONDE RACE: WHITE SEX: FEMALE

; /)
Ki NLA TOW

=

Jeniee’ Rossner *° Lic. #98-02

SWORN TO BEFORE ME OUR DOCK 24745
Software Freedom Law Center
1995 Broadway
17th Floor
New York NY 10023
212-461-1911
Case 1:09-cv-10155-SAS Document 25 Filed 01/11/10 Page 2 of 2

CALIFORNIA JURAT WITH AFFIANT STATEMENT

\C See Attached Document (Notary to cross out lines 1-6 below)
_| See Statement Below (Lines 1—5 to be completed only by document signer({s], not Notary)

 

 

Signature of Document Signer No. 1 Signature of Document Signer No. 2 (if any)

State of California

County of SACeAmM EMD

Subscribed and sworn to (or affirmed) before me on this

777 day of IAMWAKRY. 20 /0_, by

Date Month Year

(1) QEMWZLE poss Vere.

Name of Signer

   

  

 
   
  
   

RI proved to me on the basis of satisfactory evidence

~ COMM. #1843131 * to be the person who appeared before me (.) (,)
NOTARY PUBLIC - CALIFORNIA b
SACRAMENTO COUNTY © (and

OMM, EXPIRES APRIL 4, 2013 = ee :

Name of Signer

pote:

  

proved to me on the basis of satisfactory evidence
be the person who appeared pelois me.)

 

 

 

 

Signature _ ~<« 7 — “1
Xe Signature of Notary Public
or
Place Notary Seal Above -f
Though the information below is not required by law, it may prove PTT EE Tes
valuable to persons relying on the document and could prevent face acts lacie ae)
fraudulent removal and reattachment of this fornt to another document Top of thumb here Top of thumb here

 

Further Description of Any Attached Document

Title or Type of Document:

 

Document Date: Number of Pages:

Signer(s) Other Than Named Above:

 

 

 

 

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